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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                             )
                                                      )
                  Plaintiff,                          )
                                                      )
       v.                                             )               07-CR-30057-WDS
                                                      )
JULIAN PATRICK ROBINSON,                              )
JEREMY McCARNS and                                    )
KEVIN J. WESTERFIELD,                                 )
                                                      )
                  Defendants.                         )
                                                      )

                                            ORDER

STIEHL, District Judge:

       Before the Court is defendant McCarn’s motion to continue the trial and final pre-trial

conference in this matter to allow counsel to complete plea negotiations (Doc. 31). Also before

the Court is defendant Westerfield’s motion to continue the pre-trial and trial dates (Doc. 32)

who also is seeking time to complete plea negotiations in ths matter. The trial is currently

scheduled for August 21, 2007. The defendants represent that the government has no objection

to this motion.

       Upon review of the record, the Court FINDS that it is appropriate to continue the trial of

this matter to allow the defendants additional time to pursue plea negotiations, and if there is not a

plea, to adequately prepare for trial. The Court FURTHER FINDS that defense counsel have

exercised due diligence in preparing for trial and that failure to grant a continuance in this matter

would deny counsel for the defendants reasonable time necessary to prepare for trial, including

the possibility of a plea. The Court FURTHER FINDS that the end of justice would be best

served by granting the continuance, and that the interests of the public are outweighed by the best
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interests of the defendants in a continuance. 18 U.S.C. §§ 3161 (h)(8)(A) and (h)(8)(B)(iv).

       Accordingly, the Court GRANTS defendants’ motions to continue the trial. Defendant

Westerfield has further asked that the Court set his case for a change of plea. The change of plea

as to defendant Kevin J. Westerfield is set for Monday, August 20, 2007 at 2:00 P.M. This

matter is rescheduled for a Final Pre-Trial Conference as to defendants Robinson and McCarns on

Friday, August 31, 2007, at 1:30 P.M. and trial on Tuesday, September 11, 2007, at 9 A.M.

All time between the filing of the motion to continue and the new trial date shall be excluded for

speedy trial purposes.



IT IS SO ORDERED.

DATED:        August 2 , 2007



                                                     s/ WILLIAM D. STIEHL
                                                        DISTRICT JUDGE




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